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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND
                                     SOUTHERN DIVISION
____________________________________
                                           )
INTERNATIONAL REFUGEE                      )
ASSISTANCE PROJECT (“IRAP”), et al., )
                                           )
        Plaintiffs,                        )
                                           )
        v.                                 )         No. 8:17-cv-00361-TDC
                                           )
DONALD TRUMP, in his official capacity )
as President of the United States, et al., )
                                           )
        Defendants.                        )
____________________________________)
                                           )
IRANIAN ALLIANCES ACROSS                   )
BORDERS, et al.,                           )
                                           )
        Plaintiffs,                        )
                                           )
        v.                                 )         No. 8:17-cv-02921-TDC
                                           )
DONALD J. TRUMP, in his official           )
capacity as President of the United        )
States, et al.,                            )
                                           )
        Defendants.                        )
____________________________________)
                                           )
EBLAL ZAKZOK, et al.,                      )
                                           )
        Plaintiffs,                        )
                                           )
        v.                                 )         No. 1:17-cv-02969-TDC
                                           )
DONALD TRUMP, in his official capacity )
as President of the United States, et al., )
                                           )
        Defendants.                        )

  DEFENDANTS’ COMBINED MOTION FOR CERTIFICATION OF THIS COURT’S
   MAY 2, 2019 MEMORANDUM OPINION AND ORDER FOR INTERLOCUTORY
                  APPEAL AND FOR A STAY OF DISCOVERY
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       Pursuant to 28 U.S.C. § 1292(b), Defendants hereby move this Court to certify for

interlocutory appeal its memorandum opinion and order denying in part Defendants’ motion to

dismiss. See Memorandum Opinion, IRAP ECF No. 276, IAAB ECF No. 91, Zakzok ECF No. 70

(May 2, 2019); Order, IRAP ECF No. 277, IAAB ECF No. 92, Zakzok ECF No. 71 (May 2, 2019).

Defendants also move this Court to stay any and all discovery pending completion of all § 1292(b)

proceedings, whether in this Court or an appellate court. The reasons supporting Defendants’

motion are set forth in the accompanying memorandum of law.


Dated: June 20, 2019                        Respectfully submitted,

                                            JOSEPH H. HUNT
                                            Assistant Attorney General

                                            ROBERT K. HUR
                                            United States Attorney

                                            JOHN R. TYLER
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                                            /s/ Daniel Schwei
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